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                        Exhibit 5
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LOCAL NEWS




Residents given days to relocate
after Feds pull Medicaid funding
from Fort Worth nursing home
Remarkable Healthcare in Fort Worth is losing Medicare funding after
the federal government warned of several compliance failures.




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FORT WORTH, Texas — 57-year-old Nonna Taggart is trying to figure out where to go.

“We’re all stressed,” Taggart said.

Taggart told WFAA that on Wednesday, staff at Remarkable Healthcare in Fort Worth, the
nursing home she has lived in for last seven years, told roughly 80 of the facility’s residents that
it will close on April 18th.


Residents were told they’d have to relocate with only eight days of notice, Taggart said.

“This has been home for so long,” Taggart said. “I’m losing my home, my friends, my family. I
had my room. It’s just yanked from underneath you.”

The facility is expected to close after the federal government informed its leadership that it
would no longer pay it to care for adults who need long-term care and rehabilitation.
The nursingCase  4:24-cv-00337-O
            home at 6649 N. Riverside DriveDocument      1-6from
                                            received a notice  Filed  04/17/24
                                                                 the Centers        Page 3 of 4
                                                                             for Medicare           PageID 182
and Medicaid Services, which states it would lose Medicare funding due to failure to attain
compliance with several Medicare and Medicaid requirements.

The CMS notice listed several compliance failures, including a lack of quality care and resident
rights.

Taggart told WFAA she witnessed several issues and that the facility has been short-staffed.

“People not being changed when they needed to be changed, call lights not being answered
on time,” Taggart said.

The facility had been under close watch by the federal government for months. According to a
report from the Centers for Medicare and Medicaid Services, Remarkable Healthcare in Fort
Worth was listed as one of the worst nursing homes in the nation when it comes to safety and
quality last year, and again in 2024. The CMS’s Special Focus Facility program is a final push to
improve the quality of care at facilities.

WFAA reached out to nursing home co-owner Jon McPike for comment but did not receive a
response.

Jeff Caruth, an attorney for the facility’s landlord, KRS Fort Worth LLC told WFAA the landlord
learned of the actions taken by CMS on April 10th.

According to Caruth, the property was several days away from undergoing new ownership
under Pure Health, however, Remarkable’s two former bankruptcy filings delayed the transition
of ownership.


“CMS inflicted this unnecessary action despite knowing about the transition. CMS failed to warn
or inform KRS after weeks of calls and meetings with KRS about the bankruptcies,” Caruth said
in a statement. “We are awaiting CMS attorneys to contact CMS officials to reverse this
completely discretionary action. Over the last 24 hours, we have engaged multiple state and
federal agencies, government lawyers, and elected officials to quickly correct this situation and
end the confusion.

KRS and Pure Health anticipate achieving a resolution to all of this in 24-48 hours, so that all
residents who are disrupted in their lives, and employees, may return to peace of mind about
the facility.”

Jennifer Ruffcorn, a spokesperson for the Texas Health and Human Services Commission, said
in an emailed statement that the nursing facility was not closed by the state.

“The Centers for Medicare & Medicaid Services is terminating the facility’s contract due to its
poor record of survey/inspection performance. This means the facility can no longer receive
federal funding,” Ruffcorn said in a statement.

The HHSC Long-term Care Ombudsman’s Office is assisting residents in finding an alternative
place to live, Ruffcorn said.

The nursing home is among four facilities owned or operated by companies linked to Jon
McPike and Laurie Beth of Southlake.

While Taggart acknowledged the facility had issues, she still considered its staff and residents
as family.

“I have a headache, I’ve been crying way too much today,” Taggart said on Thursday. This is my
family. I’m not gonna see them again. Everybody is going to different places.
            Case
For her, that’s      4:24-cv-00337-O
                the hardest part.              Document 1-6 Filed 04/17/24                Page 4 of 4 PageID 183


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